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AO 245C      Amended Judgment in a Criminal Case                                                                     (NOTE: Identify Changes with Asterisks(*))
(Rev. 12119) Sheet I


                                           UNITED STATES DISTRICT COURT
                                          Middle District of Georgia
                 UNITED STATES OF AMERICA               AMENDED JUDGMENT IN A CRIMINAL CASE
                            V.
                                                                                  Case Number:                  7:20-CR-00033-WLS-TQL{I)
                        JAYSON E WRIGHT
                                                                                  USM Number:                   08072-509
Date of Original Judgment: 7/5/2022                                               TIMOTHY R SAVIELLO
                                       (Or Date of Last Amended Judgment)         Defendant's Attorney

THE DEFENDANT:
l8J pleaded guilty to count(s) -'l-'a""n""d_4;__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
D pleaded nolo contendere to count(s)
      which was accented bv the court.
D     was found guilty on count(s)
      after a plea of not guiliy.

The defendant is adjudicated guilty of these offenses:
Title & Section/ Nature of Offense                                                               Offense Ended                    Count
18:225 l(b) and (e) and 18:2 - Production of Child Pornography                                    03/11/2011 *                   I
18:225 l(a) and (e) - Production of Child Pornography                                             06/05/2018*                    4




        The defendant is sentenced as provided in pages 2 through _ __:8;__of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D     The defendant has been found not guilty on count(s)


IZI   Count(s)                2 & 3, 5 & 6                 D    is   IZI    are dismissed on the motion of the United States.
                 -------'--------
          It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment arc fttlly paid. If ordered to
pay restitution, the defendant must notify the comt and United States attorney of material changes in economic circumstances.

                                                                                   June 29, 2022                     ,



                                                                                   Signature of Judge
                                                                                   W. LOUIS SANDS
                                                                                   SENIOR UNITED STATES DISTRJCT JUDGE
                                                                                   Name and Title of Judge
                                                                                                         7(7/t. 1-
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AO 245C      Amended Judgment in Criminal Case                                                          (NOTE: Identify Changes with an Asterisks(*))
(Rev. 12/19) Sheet 2- Imprisonment

                                                                                                    Judgment- Page        2       of         8
  DEFENDANT:                    JAYSON E WRIGHT
  CASE NUMBER:                  7:20-CR-00033-WLS-TQL( I)



                                                              IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of: Three Hundred Sixty (360) months as to count I; Three Hundred Sixty (360) months as to count 4 to nm consecutive for
 a total of 720 months imprisonment.•




      D      The comt makes the following recommendations to the Bureau of Prisons:




      181    The defendant is remanded to the custody of the United States Marshal.

      D      The defendant shall surrender to the United States Marshal for this district:

            D     at                             D    a,m.     D p.m.         on

            D     as notified by the United States Marshal.

      D      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            D     before 2 p.m. on

            D     as notified by the United States Marshal.

            D     as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
  I have executed this judgment as follows:


            Defendant delivered on                                                      to

 at                                               _, with a ce1tified copy of this judgment.


                                                                                                  UNITED STATES MARSHAL



                                                                          By
                                                                                               DEPUTY UNITED STATES MARSHAL
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 AO 245C      Amended Judgment in a Criminal Case                                                           (NOTE: Identify Changes with an Asterisks(*))
 (Rev. 12/19) Sheet 3 - Supervised Release
                                                                                                       Judgment-Page -~3,__ of                   _8
  DEFENDANT:                   JAYSON E WRIGHT
  CASE NUMBER:                 7:20-CR-00033-WLS-TQL(l)

                                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: LIFE.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.



                                                    MANDATORY CONDITIONS

 I.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of
      release from imprisonment and at least two periodic drug tests thereafter, as detennined by the court.
            •     The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (check if applicable)
 4.   IZJ   You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution. (check if applicable)
 5.   IZJ   You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6.   1ZJ   You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
            as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you
            reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.   D     You must participate in an approved program for domestic violence. (check if applicable)

 You must comply with the standard conditions that have been adopted by this comt as well as with any other conditions on the
 attached page.
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 AO 245C     Amended Judgment in a Criminal Case                                                        (NOTE: Identify Changes with an Asterisks(*))
 (Rev. 12/19) Sheet 3A-Supervised Release
                                                                                                     Judgment-Page _ ___c4.___ of             8
  DEFENDANT:                  JAYSON E WRIGHT
  CASE NUMBER:                7:20-CR-00033-WLS-TQL(l)



                                     STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep infonned, repmt to the comt about, and bring about improvements in your conduct and condition.

1. You must repmt to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially repmting to the probation office, you will receive instructions from the comt or the probation officer about how and
when you must repmt to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
comt or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
anangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must pennit the probation officer to take
any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are mTested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a fireann, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injmy or death to another person such as nunchakus or lasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or info1mant without first
getting the permission of the court.
12. Upon notification to the Court and upon the Court's direction, the probation officer may require you to notify a person or organization of
a risk you may pose, and you must comply with that instruction. The probation officer may contact the person and confirm that you have
notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions. For further information regarding these conditions, see Overview
of Probation and Supervised Release Conditions, available at: www.uscourts.gov.

 Defendant's Signature                                                                             Date
 USPO Officer's Signature                                                                          Date
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  AO 245C        Amended Judgment in a Criminal Case                                      (NOTE: Identify Changes with an Asterisks(*))
  (Rev. 12/19)   Sheet 3D-Supervised Release
                                                                                        Judgment-Page _ _5_           of   ----
                                                                                                                                 8

  DEFENDANT:                    JAYSON E WRIGHT
  CASE NUMBER:                  7:20-CR-00033-WLS-TQL( I)

                                          SPECIAL CONDITIONS OF SUPERVISION

       You shall participate in an approved sex offender treatment program. The U.S Probation Office shall
administratively supervise your participation in the program by approving the program and monitoring your
participation in the program. For contracted providers, you shall contribute to the costs of such treatment not to
exceed an amount determined reasonable by the coutt approved 'U.S. Probation Office' Sliding Scale for Service,'
and shall cooperate in securing any applicable third-pait payment, such as insurance or Medicaid. You are responsible
for paying all cost associated with any non-contracted treatment providers approved by the probation office.

      You shall not associate with or have contact with persons under the age of 18, except in the presence of a
responsible adult who is aware of the nature of your background and current offense, and who has been approved in
advance by the probation officer. Contact includes any direct correspondence, telephone, internet or other electronic
communication, or by using third patties

       You shall not have contact with the victim (list name if appropriate) (and/or family members named if
appropriate) by any means, including in person, by mail, email, telephone, text messaging, or other electronic means,
or via third parties. If any contact occurs, you shall immediately leave the area of contact and report the contact to the
probation officer.

       You are prohibited from access to any computer or any other public or private computer network at any
location. This includes but is not limited to computers or devices located in private homes, libraries, schools, cyber
cafes or other public or private locations.

       You shall not use or own any device which allows Internet access. This includes but is not limited to PDAs,
electronic games, Internet appliances and cellular devices. An exception may be made for employment or education
with the approval of the Probation Office.

      You shall provide the Probation Office with truthful and complete information regarding all computer
hardware, software, Internet providers, cellular devices and storage media to which you have access, whether at home,
work, or other locations.

       You shall also provide all passwords used on your computer, cellular devices and online accounts.

      You are only authorized to use cellular devices that do not have Internet access and are approved by the
Probation Office.

       You shall submit your cellular devices for inspection and review by the Probation Office.

      You shall not own or possess any type of camera, photographic device or video producing device without the
approval of the Probation Office.

        You shall provide financial information to the Probation Office upon request.

        You shall not possess or use any form of removable media or data storage.
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                                                                                        Judgment-Page _ _6 _ of         8
  DEFENDANT:             JAYSON E. WRIGHT
  CASE NUMBER:           7:20-CR-00033-WLS-TQL(l)

       Should you be found in violation of these conditions tln·ough possession of any form of digital evidence, you
shall submit that evidence for inspection and review by the Probation Office. If directed, you shall relinquish
possession of said items to the Probation Office. The review may include data you have stored on remote servers,
such as cloud storage, social media applications or any other online account or service.

       You will allow the Probation Office to use detection tools to discover the existence of wireless Internet signals
or devices at your residence.

       You shall notify all parties who reside in your residence of these conditions.

      You shall submit your person, propetty, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. §
1030(e)(l)), other electronic communications or data storage devices or media, or office, to a search conducted by a
United States Probation Officer. Failure to submit to a search may be grounds for revocation of release. You shall
warn any other occupants that the premises may be subject to searches pursuant to this condition.

       You shall submit to polygraph testing to determine if you are in compliance with the conditions of supervision
and/or treatment program. The U.S. Probation Office shall administratively supervise your participation in the
program by approving the program and monitoring your participation in the program. You shall contribute to the costs
of such treatment not to exceed an amount determined reasonable by the court approved "U.S. Probation Office's
Sliding Scale for Services."

        You shall not have another individual access the internet on your behalf to obtain files or information that you
are restricted from accessing yourself, or accepting files or information from another person.

       You are prohibited from possessing or using alcoholic beverages while emailed in treatment such as mental
health, sex offender or substance abuse treatment.

      You shall consent to third-party disclosure to any employer or potential employer, concerning the history,
characteristics, criminal background or any computer related restrictions that have been imposed.

       You shall not possess or have under your control any matter that is pornographic/erotic; or that describes
sexually explicit conduct, violence towards children or "child pornography," as defined in 18 U.S.C. §2256(2) and
(8), including photographs, images, books, writings, drawings, videos, and electronic material.

      You shall notify the Financial Litigation Unit (FLU) of the U.S. Attorney's Office of any interest in property
obtained, directly or indirectly, including any interest obtained under any other name, or entity, including a trust,
pattnership or corporation after the execution of the plea agreement until the restitution is paid in full.
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 AO 245C      Amended Judgment in a Criminal Case                                                                 (NOTE: Identify Changes with an Asterisks(*))
 (Rev. 12/19) Sheet 5 -Criminal Monetary Penalties

                                                                                                         Judgment- Page         7         of         8
  DEFENDANT:                         JAYSON E WRIGHT
  CASE NUMBER:                       7:20-CR-00033-WLS-TQL(l)

                                               CRIMINAL MONETARY PENAL TIES
          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                               Assessment               Restitution                 Fine               AV AA Assessment*            JVTA Assessment**
  TOTALS                               $200.00           $625,000.00                          $.00                   $.00                                   $

  D     The determination of restitution is deferred until ________ An Amended Judgment in a Criminal Case (A0245C) will be
        entered after such dete1mination.
  rgJ   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
              *Victim #I: $ 400,000.00
               Victim #2-4: $ 75,000.00 each
               Total:       $ 625,000.00

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
          the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
          before the United States is paid.




  D     Restitution amount ordered pursuant to plea agreement$
  •     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
        the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be
        subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
  r8]   The court detennined that the defendant does not have the ability to pay interest and it is ordered that:
        rgJ     the interest requirement is waived for the        D     fine                             rgJ   restitution
        D       the interest requirement for the                  •     fine                             •     restitution is modified as follows:

  • Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pnb.L. No. 115-299.
 •• Justice for Victims of Trafficking Act of 2015, Pub. L. No. I 14-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, I JOA, and 113A of Title 18 for offenses committed on or after September
    13, 1994, but before April 23, I996.
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 AO 245C      Amended Judgment in a Criminal Case                                                                (NOTE: Identify Changes with an Asterisks(*))
 (Rev. 12/19) Sheet 6 - Schedule of Payments

                                                                                                              Judgment- Page   _    __c_8_ _ of        8
  DEFENDANT:                  JAYSON E WRIGHT
  CASE NUMBER:                7:20-CR-00033-WLS-TQL(l)

                                                        SCHEDULE OF PAYMENTS
  Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

  A     •     Lump sum payment of$                              due immediately, balance due

              •    not later than                                   , or
              •    in accordance with     •    C,   •      D    •      E, or   •    F below; or

  B     IZl   Payment to begin immediately (may be combined with               •    C,     •      D, or        IZl F below); or

  C     •     Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                             (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

  D     D Payment in equal _ _ _ _                     (e.g., weekly, monthly, quarterM installments of $ _ _ _ _ over a period of
                             (e.g.. months or years), to commence _____ (e.g., 30 or 60 days) after release from imprisonment to a
              term of supervision; or

  E     D     Payment during the term of supervised release will commence within   _ _ _ _ . (e.g., 30 or 60 days) after release from
              imprisonment. The comt will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

  F     IZ]   Special instructions regarding the payment of criminal monetmy penalties:
  Any criminal moneta1y penalty ordered by the court shall be due and payable in full immediately. Present and future assets are subject to
  enforcement and may be included in the treasmy offset program allowing qualified federal benefits to be applied to the balance of criminal
  monetary penalties.

  Payment during the tmm of supervised release will commence within 60 days after release from imprisonment. The court will set the payment
  plan based on an assessment of the defendant's ability to pay at that time. (fme/restitution) payment shall be due during the period of
  imprisonment at the rate of not less than $25 per quarter and pursuant to the bureau of prisons' financial responsibility program. The value of
  any future assets may be applied to offset the balance of criminal monetary penalties. The defendant may be included in the treasmy offset
  program, allowing qualified benefits to be applied to offset the balance of any criminal monetmy penalties.

  Unless the court has expressly ordered otherwise, if this judgment imposes imprisomnent, payment of criminal monetaty penalties is due during
  imprisonment. All criminal monetaty penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
  Responsibility Program, are made to the clerk of the comt.

  The defendant shall receive credit for all payments previously made toward any criminal moneta1y penalties imposed,

  •      Joint and Several
                                                                                                          I
         Defendant and Co-Defendant Names and Case Numbers (including defendant numbe1), Total Amount, Joint and Several Amount,
         and cotTesponding payee, if appropriate.

  •      The defendant shall pay the cost of prosecution.

  D      The defendant shall pay the following court cost(s):

  D      The defendant shall forfeit the defendant's interest in the following propetty to the United States:

Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (IO) costs, including cost of
prosecution and com1 costs.
